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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )
    v.                             )    CRIMINAL ACTION NO.
                                   )      2:10cr186-MHT
MILTON E. McGREGOR,                )          (WO)
THOMAS E. COKER,                   )
LARRY P. MEANS,                    )
JAMES E. PREUITT,                  )
HARRI ANNE H. SMITH,               )
JARRELL W. WALKER, JR.,            )
and JOSEPH R. CROSBY               )

                                ORDER

    It is ORDERED that the government’s motion regarding

jury selection procedures (doc. no. 2015) is granted in

part and denied in part as stated on the record on

January 4, 2012.

    DONE, this the 4th day of January, 2012.

                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
